Case 1:08-cr-00069-SJM Document 19 Filed 06/05/09 Page 1 of 5




                                                Digitally signed by Sean J.
                                Sean J.         McLaughlin
                                                DN: cn=Sean J. McLaughlin, c=US
                                McLaughlin      Date: 2009.06.05 12:40:19 -04'00'
Case 1:08-cr-00069-SJM Document 19 Filed 06/05/09 Page 2 of 5
Case 1:08-cr-00069-SJM Document 19 Filed 06/05/09 Page 3 of 5
Case 1:08-cr-00069-SJM Document 19 Filed 06/05/09 Page 4 of 5
Case 1:08-cr-00069-SJM Document 19 Filed 06/05/09 Page 5 of 5
